AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Western District of Washington

STEVEN K. YOUNG
)
)
Plaintiff(s) )
V. Civil Action No.
QUALITY LOAN SERVICE CORP. OF )
WASHINGTON )
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) QUALITY LOAN SERVICE CORP. OF WASHINGTON
c/o SIERRA HERBERT-WEST
108 1ST AVE S #202
SEATTLE, WA 98104

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: STEVEN K. YOUNG

2030 280TH PLACE NE
CARNATION, WA 98014

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
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Steven K. Young
2030 280" Place NE
Carnation, WA 98014
(425) 785-8225

Plaintiff in Pro Se

UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF WASHINGTON

STEVEN K. YOUNG ‘Case No. 19-cv-00867-JLR-MLP
Plaintiff
J ‘SECOND AMENDED VERIFIED
COMPLAINT FOR:
DITECH FINANCIAL LLC FKA
GREEN TREE SERVICING LLC: 1. VIOLATION OF FAIR DEBT
ALITY LOAN SERVICE CORP COLLECTION PRACTICES
QU (FDCPA) U.S.C. 1692e § 807(5)
OF WASHINGTON; and DOES 1-10, 2. VIOLATION OF THE
Inclusive WASHINGTON DEED OF
TRUST ACT
Defendant(s). 3. VIOLATION OF THE
WASHINGTON CONSUMER
PROTECTION ACT
4. QUIET TITLE
5. DECLARATORY RELIEF

Jury trial demanded

 

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SECOND AMENDED VERIFIED COMPLAINT

 
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JUDICIAL NOTICE
10. Plaintiff moves this Honorable Court to take Mandatory Judicial
Notice under the Federal Rules of Civil Procedure Rule 201 (d) of the following:
a. The United States Supreme Court, in Haines v Kerner404 U.S. 519
(1972), said that all litigants defending themselves must be afforded the

opportunity to present their evidence and that the Court should look to the

substance of the complaint rather than the form.

b. In Platsky v CIA, 953 F.2d 26 (2™Cir. 1991), the Circuit Court of
Appeals allowed that the District Court should have explained to the litigant
proceeding without a lawyer, the correct form to the plaintiff so that he could
have amended his pleadings accordingly. Plaintiff respectfully reserves the right
to amend. A pro se plaintiffs pleadings and filings are liberally construed and
are held to a less stringent standard than documents drafted by attorneys.
Erickson v. Pardus, 551 U.S. 89, 94 (2007); Hamilton v. Brown, 630 F.3d 889,
893 (9th Cir. 2011). In evaluating a pro se plaintiff's “compliance with the
technical rules of civil procedure, we treat him with great leniency.” Draper v.

Coombs, 792 F.2d 915, 924 (9th Cir. 1986).

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SECOND AMENDED VERIFIED COMPLAINT

 
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c. Under the Federal Rules of Evidence 1002 and 1003 governing the
admissibility of duplicates, any photocopies brought in as evidence are considered
to be forgeries. It is unfair to admit a photocopy in the place of an original as
there are information contained within the original that is not in a photocopy,
specifically the only legally binding chain of title to the promissory note.

d. Under Uniform Commercial Code - ARTICLE 3 -§3-308, all signatures

presented that is not on an original format (with the original wet ink signature) is

hereby denied and is inadmissible.

COMES NOW the Plaintiff, Steven K. Young (“Plaintiff”), complaining of the

Defendant as named above, and each of them, as follows:

I. THE PARTIES

1. Plaintiff is now, and at all times relevant to this action, a resident of the
County of KING, State of Washington.

2. Defendant, DITECH FINANCIAL LLC FKA GREEN TREE SERVICING
LLC (herein referred to as "DITECH") is a mortgage servicing company/debt

collector doing business in the County of KING, State of WASHINGTON.

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SECOND AMENDED VERIFIED COMPLAINT

 
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3. Defendant, QUALITY LOAN SERVICE CORP. OF WASHINGTON, is a
foreclosure trustee service doing business in the County of KING, State of
WASHINGTON.

4. At all times relevant to this action, Plaintiff has owned the Property located
at 238 Sunset Drive, Pacific, WA 98047 (the “Property’”).

5. Plaintiff does not know the true names, capacities, or basis for liability of
Defendants sued herein as Does 1 through 10, inclusive, as each fictitiously
named Defendant is in some manner liable to Plaintiff, or claims some right, title,
or interest in the Property. Plaintiff will amend this Complaint to allege their true
names and capacities when ascertained. Plaintiff is informed and believes, and
therefore alleges, that at all relevant times mentioned in this Complaint, each of
the fictitiously named Defendants are responsible in some manner for the injuries
and damages to Plaintiff so alleged and that such injuries and damages were
proximately caused by such Defendants, and each of them.

6. Plaintiff is informed and believes, and thereon alleges, that at all times
herein mentioned, each of the Defendants were the agents, employees, servants
and/or the joint-venturers of the remaining Defendants, and each of them, and in
doing the things alleged herein below, were acting within the course and scope of

such agency, employment and/or joint venture.

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II. JURISDICTION
7. The transactions and events which are the subject matter of this Complaint

all occurred within the County of KING, State of WASHINGTON.

8. The Property is located within the County of KING, State of
WASHINGTON with an address of 238 Sunset Drive, Pacific, WA 98047 (the
“Property”).

9. The Court has original jurisdiction over the claims in this action based on
28 U.S.C. §§1331, 1343, 2201, 2202, 15 U.S.C. §1692, 12 U.S.C. §2605, and 42
U.S.C. §1983 which confer original jurisdiction on federal district courts in suits
to address the deprivation of rights secured by federal law.

10.This Court also has supplemental jurisdiction over any pendant state law
Claims because they form a part of the same case or controversy under Article III
of the United States Constitution, pursuant to 28 U.S.C. §1367.

11.This Court has original jurisdiction over the claims in this action based on
28 U.S.C. §1332 which confers original jurisdiction on Federal district courts in
suits between diverse citizens that involve an amount in controversy in excess of
$75,000.00. In the case at bar, Defendant and the Plaintiff is diverse based upon

the current construction of that language under 28 U.S.C. §1332. Every issue of

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law and fact in this action is wholly betweeen citizens of difference states. The
actual mortgage at issue in this case is in the amount of $130,306.29.
As such, Plaintiff contends, is informed and believes that this court has
jurisidiction over this case pursuant to 28 U.S.C. §1332(a)(1).

12.The unlawful conduct, illegal practices, and acts complained of and
alleged in this Complaint were all committed in this District of Washington and
involved real property that is location in this District of Washington. Therefore,
venue properly lies in this District, pursuant to 28 U.S.C. §1391(b).

13. Plaintiff is now, and at all times mentioned herein, an individual

residing in the City of Pacific, in the State of Washington.

Il. INTRODUCTORY ALLEGATIONS
14. This is an action brought by Plaintiff seeking to enjoin the impending

foreclosure, quiet title and for compensatory, special, general and punitive
damages.

15.Plaintiff disputes any foreclosure proceedings regarding the real property
in question. This action to foreclose is barred by the statute of limitations.” RCW
7.28.300. In late 2012 Plaintiff received a letter of acceleration from Greentree

Financial that threatened that if an amount was not paid within 30 days then

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Greentree Financial would accelerate the note and foreclose on the Subject
Property

16. Pursuant to the Deed of Trust the lender has the discretion to accelerate
the debt and gives the borrower the right to reinstate.

IV. SPECIFIC ALLEGATIONS

17. In mid-2014, Northwest Trustee Service served Plaintiff with a Notice of
Default and a subsequent to that, a Notice of Trustee Sale, with a sale date of
December 12, 2014.

18. It has been over 7 years since the lender Greentree Financial sent its letter
of acceleration of Debt to Plaintiff. Plaintiff therefore requests that this
Honorable Court

19.Acceleration is a key issue in quiet title claims because the six-year
limitations period on the final installment of the loan commences upon
acceleration. Washington law has long provided that to accelerate a debt, “the
acceleration must be clearly and unequivocally expressed to the
debtor.” Washington Fed. v. Azure Chelan LLC, 195 Wash. App. 644, 663 (2016)
(citing Weinberg v. Naher, 51 Wash. 591, 594 (1909) and Glassmaker v. Ricard,

23 Wash. App. 35, 38 (1979).

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20.Lending support to this acceleration theory, federal courts found in two
cases that notices of intent to accelerate caused an acceleration under Washington
law where the notices contained a statement such as “If the default is not cured
on or before [X], the mortgage payments will be accelerated... .”

21.In Merceri v. Bank of New York Mellon ex rel. Holders of the Alternative
Loan Tr. 2006-OA19 (“Merceri IT’), No. 76706-2-I, P.3d, 2018 WL 3830033
(Wash. Ct. App. Aug. 13, 2018), the trial court granted judgment for quiet title on
a $468,000 mortgage in favor of the borrower. The trial court found that the
above-referenced language caused acceleration.

22.Further, in Cedar West Owners Association v. Quality Loan and
Nationstar, Plaintiff Cedar West filed a lawsuit against Quality Loan and
Nationstar to quiet title to the property and enjoin the trustee's sale. Cedar West
alleged the six-year statute of limitations barred the nonjudicial foreclosure.

23.Greentree’s 2012 letter of acceleration to Plaintiff clearly stated the
following language: “If the default is not cured on or before [X], the mortgage
payments will be accelerated ....” As a result of same, Plaintiff hereby alleges
the six-year statute of limitations bars the nonjudicial foreclosure; and pursuant to
RCW 7.28.300, the Trustee Sale, scheduled for August 9, 2019, must be

enjoined.

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V. FIRST CAUSE OF ACTION
VIOLATION OF FAIR DEBT COLLECTION PRACTICES (FDCPA)
U.S.C. 1692e § 807(5)

(Defendant)

24.Plaintiffs re-alleges and incorporates by reference all preceding
paragraphs as though fully set forth herein.
25.Plaintiff asserts and believes Defendant knew, as a result of the tolling of
the statute of limitation, they did not have a right to collect payments and or
threaten to foreclose on Plaintiff's real property.
VI. SECOND CAUSE OF ACTION:
VIOLATION OF WASHINGTON STATE
DEED OF TRUST ACT
(Defendant Quality)
26.Plaintiffs re-alleges and incorporates by reference all preceding
paragraphs as though fully set forth herein.
27. Plaintiff asserts and believes that the interest and payment stated on the
Notice of Trustee Sale. Plaintiff has no way of verifying same.
_ Vil. THIRD CAUSE OF ACTION
VIOLATION OF WASHINGTON STATE
CONSUMER PROTECTION ACT
(Defendant Quality)

28.Plaintiffs re-alleges and incorporates by reference all preceding

paragraphs as though fully set forth herein.

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29.The elements of a CPA claim are well-established and not in dispute

30.To prevail on her CPA claim, a plaintiff must prove the following
elements: (1) an unfair or deceptive act or practice; (2) the act or practice
occurred in trade or commerce; (3) the act or practice impacts the public interest;
(4) the act or practice caused injury to the plaintiff in his business or property;
and (5) the injury is causally linked to the unfair or deceptive act. Hangman

Ridge Training Stables, Inc. v. Safeco Title Ins. Co., 105 Wn.2d 778, 780, 719

 

P.2d 531 (1986).
31.Plaintiff asserts and believes that all of the above-referenced elements are
in place.

VIII. FOURTH CAUSE OF ACTION

QUIET TITLE
(Defendant)

32.Plaintiff's title to the above-described property is derived as follows: On or
about April 28, 2008 (hereinafter referred to as “Closing Date”) Plaintiff entered
into a consumer credit transaction with Countrywide Bank by obtaining a
mortgage loan in the sum of $243,750.00, secured by Plaintiffs principal
residence, (Subject Property). This note was secured by a First Trust Deed on the
Property in favor of Countrywide Bank.
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33.The Defendant named herein claim an interest and estate in the property
adverse to plaintiff in that defendant asserts he is the owner of the note secured by
the Mortgage/Deed of Trust to the property the subject of this suit.

34.The Defendant named herein claims an interest and estate in the property
adverse to plaintiff in that defendant asserts he is the owner of Mortgage/Deed of
Trust securing the note to the property the subject of this suit.

35.The statute of limitations has tolled and Plaintiff is entitled to “judgment
quieting title” against the security instrument. Therefore, any claim by defendant
is without any right whatsoever, and defendant has no right, estate, title, lien or
interest in or to the property, or any part of the property.

36.The claim of the defendant herein named, claim some estate, right, title,
lien or interest in or to the property adverse to plaintiff's title, and these claims
constitute a cloud on plaintiff's title to the property.

37.Plaintiff requests the decree permanently enjoin defendant, and all persons

claiming under them, from asserting any adverse claim to plaintiff's title to the

property.

IX. FIFTH CAUSE OF ACTION:
DECLARATORY RELIEF
38.Plaintiff re-alleges and incorporatess by reference all preceding
paragraphs as though fully set forth herein.
39.An actual controversy has arisen and now exists between Plaintiff and
Defendant concerning their respective rights and duties regarding the Note and

Mortgage/Trust Deed.

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40.Plaintiff contends that as a result of the tolling of the statute of limitations,
that Defendant does not have authority to foreclose upon the Subject Property;
and the Trustee Sale, scheduled for August 9, 2019, must be enjoined.

41.Plaintiff therefore request that as a result of the tolling of the statute of
limitations, a judicial determination of the rights, obligations and interest of the
parties with regard to the Property, and such determination is necessary and
appropriate at this time under the circumstances so that all parties may ascertain
and know their rights, obligations and interests with regard to the Property.

42.Plaintiff requests that as a result of the tolling of the statute of limitations,
all adverse claims to the real property be must determined by a decree of this
court.

43.Plaintiff requests that as a result of the tolling of the statute of limitations,
the decree declare and adjudge that plaintiff is entitled to the exclusive possession
of the property.

44.Plaintiff requests that as a result of the tolling of the statute of limitations,
the decree declare and adjudge that plaintiff owns in fee simple, and is entitled to
the quiet and peaceful possession of, the above-described real property.

45.Plaintiff requests that as a result of the tolling of the statute of limitations,
the decree declare and adjudge that the defendant, has no estate, right, title, lien,
or interest in or to the real property or any part of the property.
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PRAYER FOR RELIEF

WHEREFORE Plaintiff, hereby asks for the following to be awarded:

a. A judgment setting forth that the six-year statute of limitations bars the

nonjudicial foreclosure; the Trustee Sale, scheduled for August 9, 2019, is

enjoined;

. A judgment quieting title against the security instrument, and in favor of

Plaintiff;

. A judgment setting forth that Plaintiff is entitled to the exclusive

possession of the property;

. A judgment setting forth that Plaintiff owns in fee simple, and is entitled to

the quiet and peaceful possession of, the above-described real property.

. Defendant and all persons claiming under them, have no estate, right, title,

lien, or interest in or to the real property or any part of the property; and

. A judgment setting forth that the foreclosure sale date be cancelled.

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VERIFICATION

I, Steven K. Young, am the plaintiff in this action. I have read the foregoing Second Amended
Complaint, and it is true of my own knowledge, except as to those matters stated on

information or belief, and as to those matters, I believe it to be true.

I declare under penalty of perjury under the laws of the State of Washington that the foregoing

is true and correct.

  

 

Steven K. Yeung

 

 

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SECOND AMENDED VERIFIED COMPLAINT

 
